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                                          COMPOSITE EXHIBIT B
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                  ,       IN THE LINTIED STATES DISTRICT COT]RT
                           FOR THE DISTRICT OT NORTH DAKOTA
                                 SOUT}IWE STERN DTIIISION

Association of Equipment
Manufacturers,
AGCO Corporation,                                      Case No. 1:17-cv-151
CNH Industrial America LLC,
Deere & Company, and
Kubota Tractor Corporation

                 Plaintiffs,

         v.

The Hon. Doug Burgman, Governor
Ofthe State ofNorth Dakota in his
Official Capacity, and
The Hon. Wayne Stenehjem, Attorney
General   ofthe State ofNorth Dakota
in his Official Capacity

                 Defendants,

North Dakota Implement Dealers
Association

                 Intervenor                    )


                               DECLARATIPN OF RAY GOEHRINg
I, Ray Goehring, declare under the penalty of perjury that the following is true and correctl

    l.    I am a New Holland dealer and a member of the North Dakota Implement Dealers
          Association ("NDIDA').
   2.     NDIDA's purpose is to promote the general welfare of its dealer members by providing     a
          timely source of industry information, representing dealer interests in government
          regulation and legislationo enhancing dealer and employee education, and supporting
          equitable dealer and manufacturer relations.
    3.    To further those interests, NDIDA occasionally lobbies the North Dakota legislature on
          behalf of its dealer members.
   4.     In order to determine whether to support or oppose legislation, NDIDA has periodic
          meetings to discuss, &mongst other things, legislation that may impact dealer interests.
    5.    During those meetings, members and NDIDA's President and CEO (Matthew Larsgaard)
          occasionally discuss pending legislation, whether to engage in the legislative process with
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        respect to particular legislation, whether to lobby the legislature on legislation and other
        aspects regarding the legislative process with respect to which NDIDA has an interest.
  6.    NDIDA's meetings are limited to its board members and information discussed during
        those meetings is confidential and not shared beyond ihe members present at the meeting.
  7.    Participating in NDIDA board meetings takes time and effort, including time away from
        my dealership business.
   8.   Part of the reason why I participate on the board is an understanding that NDIDA serves
        to promote industy issues and I can express my thoughts and concems in a confidential
        manner.
  9.   I communicate with other NDIDA board members and Matthew Larsgaard regarding
       industry concerns and potential legislative issues, because I have the confidence that
       those matters will remain confidential and that encourages me to have a full and frank
       discussion of those issues.
   10. The confidentiality ofthe discussions is vital in order to have full and frank discussions
       regarding supporting or opposing public policy matters and discussing the merito of both.
       If that information is released, I will no longer participate in the association's meetings to
       discuss whether to engage in the political process, and thereby no longer engage in such
       political activity with the association for fear of reprisal from the farm equipment
        manufacturers.
   11. Specifically,I have serious concems about New Holland becoming aware of specific
       discussions and/or concerns and exacting reprisal based upon those statements. The
       manufacturer has the power to influence the success or failure of my dealership in a
       number of ways, but most notably it is the primary source of product supply for which
       my dealership generates revenue.
   12. Moreover, various public entities (such as legislatures and state agencies) enact and
        enforce policies that govern my dealership business. I have a desire to remain in
        favorable regard with those individuals and entities. If confidential information is
        released regarding my comments about various North Dakota government officials or
        agencies, I have serious concern that my business would suffer as a result ofthat
       information.
   13. If I am not able to engage in confidential/anonymous discussions with the associati6n and
       Matthew Larsgaard regarding legislation, onerous manufacturer imposed policies, state
       tax and DOT issues, etc. I will be required to seriously consider limiting my involvement
       with the association which may include my resignation from the NDIDA Board of
       Directors.

Executed on this   l\lOurofMay,201
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                             SOUTHWESTERN DIVISION

Association of Equipment                    )
Manufacturers,                              )
AGCO Corporation,                           )      Case No. 1:17-cv-151
CNH Industrial America LLC,                 )
Deere & Company, and                        )
Kubota Tractor Corporation                  )
                                            )
              Plaintiffs,                   )
                                            )
       v.                                   )
                                            )
The Hon. Doug Burgman, Governor             )
Of the State of North Dakota, in his        )
Official Capacity, and                      )
The Hon. Wayne Stenehjem, Attorney          )
General of the State of North Dakota,       )
in his Official Capacity                    )
                                            )
              Defendants,                   )
                                            )
North Dakota Implement Dealers              )
Association                                 )
                                            )
              Intervenor                    )


                            DECLARATION OF KEITH KREPS
I, KEITH KREPS, declare under the penalty of perjury the following is true and correct:
   1. I am a John Deere dealer and a member of the North Dakota Implement Dealers
      Association (“NDIDA”).
   2. NDIDA’s purpose is to promote the general welfare of its dealer members by providing a
      timely source of industry information, representing dealer interests in government
      regulation and legislation, enhancing dealer and employee education, and supporting
      equitable dealer and manufacturer relations.
   3. To further those interests, NDIDA occasionally lobbies the North Dakota legislature on
      behalf of its dealer members.
   4. In order to determine whether to support or oppose legislation, NDIDA has periodic
      meetings to discuss, amongst other things, legislation that may impact dealer interests.
   5. During those meetings, members and NDIDA’s President and CEO (Matthew Larsgaard)
      occasionally discuss pending legislation, whether to engage in the legislative process with
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      respect to particular legislation, whether to lobby the legislature on legislation and other
      aspects regarding the legislative process with respect to which NDIDA has an interest.
  6. NDIDA’s meetings are limited to its board members and information discussed during
      those meetings is confidential and not shared beyond the members present at the meeting.
  7. Participating in NDIDA board meetings takes time and effort, including time away from
      my dealership business.
  8. Part of the reason why I participate on the board is an understanding that NDIDA serves
      to promote industry issues and I can express my thoughts and concerns in a confidential
      manner.
  9. I communicate with other NDIDA board members and Matthew Larsgaard regarding
      industry concerns and potential legislative issues, because I have the confidence that
      those matters will remain confidential and that encourages me to have a full and frank
      discussion of those issues.
  10. The confidentiality of the discussions is vital in order to have full and frank discussions
      regarding supporting or opposing public policy matters and discussing the merits of both.
      If that information is released, I will no longer participate in the association’s meetings to
      discuss whether to engage in the political process, and thereby no longer engage in such
      political activity with the association for fear of reprisal from the farm equipment
      manufacturers.
  11. Specifically, I have serious concerns about John Deere becoming aware of specific
      discussions and/or concerns and exacting reprisal based upon those statements. The
      manufacturer has the power to influence the success or failure of my dealership in a
      number of ways, but most notably it is the primary source of product supply for which
      my dealership generates revenue.
  12. Moreover, various public entities (such as legislatures and state agencies) enact and
      enforce policies that govern my dealership business. I have a desire to remain in
      favorable regard with those individuals and entities. If confidential information is
      released regarding my comments about various North Dakota government officials or
      agencies, I have serious concern that my business would suffer as a result of that
      information.
  13. If I am not able to engage in confidential/anonymous discussions with the association and
      Matthew Larsgaard regarding legislation, onerous manufacturer imposed policies, state
      tax and DOT issues, etc. I will be required to seriously consider limiting my involvement
      with the association which may include my resignation from the NDIDA Board of
      Directors.
Executed on this ____ day of May, 2018.
                                     ____________________________________
                                     KEITH KREPS
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                             SOUTHWESTERN DIVISION

Association of Equipment                   )
Manufacturers,                             )
AGCO Corporation,                          )      Case No. 1:17-cv-151
CNH Industrial America LLC,                )
Deere & Company, and                       )
Kubota Tractor Corporation                 )
                                           )
              Plaintiffs,                  )
                                           )
       v.                                  )
                                           )
The Hon. Doug Burgman, Governor            )
Of the State of North Dakota, in his       )
Official Capacity, and                     )
The Hon. Wayne Stenehjem, Attorney         )
General of the State of North Dakota,      )
in his Official Capacity                   )
                                           )
              Defendants,                  )
                                           )
North Dakota Implement Dealers             )
Association                                )
                                           )
              Intervenor                   )


                            DECLARATION OF JAMIE MELGAARD
I, JAMIE MELGAARD, declare under the penalty of perjury that the following is true and
correct:
   1. I am a John Deere dealer and a member of the North Dakota Implement Dealers
      Association (“NDIDA”).
   2. NDIDA’s purpose is to promote the general welfare of its dealer members by providing a
      timely source of industry information, representing dealer interests in government
      regulation and legislation, enhancing dealer and employee education, and supporting
      equitable dealer and manufacturer relations.
   3. To further those interests, NDIDA occasionally lobbies the North Dakota legislature on
      behalf of its dealer members.
   4. In order to determine whether to support or oppose legislation, NDIDA has periodic
      meetings to discuss, amongst other things, legislation that may impact dealer interests.
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  5. During those meetings, members and NDIDA’s President and CEO (Matthew Larsgaard)
      occasionally discuss pending legislation, whether to engage in the legislative process with
      respect to particular legislation, whether to lobby the legislature on legislation and other
      aspects regarding the legislative process with respect to which NDIDA has an interest.
  6. NDIDA’s meetings are limited to its board members and information discussed during
      those meetings is confidential and not shared beyond the members present at the meeting.
  7. Participating in NDIDA board meetings takes time and effort, including time away from
      my dealership business.
  8. Part of the reason why I participate on the board is an understanding that NDIDA serves
      to promote industry issues and I can express my thoughts and concerns in a confidential
      manner.
  9. I communicate with other NDIDA board members and Matthew Larsgaard regarding
      industry concerns and potential legislative issues, because I have the confidence that
      those matters will remain confidential and that encourages me to have a full and frank
      discussion of those issues.
  10. The confidentiality of the discussions is vital in order to have full and frank discussions
      regarding supporting or opposing public policy matters and discussing the merits of both.
      If that information is released, I will no longer participate in the association’s meetings to
      discuss whether to engage in the political process, and thereby no longer engage in such
      political activity with the association for fear of reprisal from the farm equipment
      manufacturers.
  11. I have serious concerns about manufacturers becoming aware of specific discussions
      and/or concerns and exacting reprisal based upon those statements. The manufacturer
      has the power to influence the success or failure of my dealership in a number of ways,
      but most notably it is the primary source of product supply for which my dealership
      generates revenue.
  12. Moreover, various public entities (such as legislatures and state agencies) enact and
      enforce policies that govern my dealership business. I have a desire to remain in
      favorable regard with those individuals and entities. If confidential information is
      released regarding my comments about various North Dakota government officials or
      agencies, I have serious concern that my business would suffer as a result of that
      information.
  13. If I am not able to engage in confidential/anonymous discussions with the association and
      Matthew Larsgaard regarding legislation, onerous manufacturer imposed policies, state
      tax and DOT issues, etc. I will be required to seriously consider limiting my involvement
      with the association which may include my resignation from the NDIDA Board of
      Directors.
Executed on this ____ day of May, 2018.
                                     ____________________________________
                                     JAMIE MELGAARD
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